          Case 1:13-vv-00705-UNJ Document 54 Filed 01/06/17 Page 1 of 8




        In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                              No. 13-705V
                                        Filed: December 9, 2016

* * * * * * * * * * * *                     *             UNPUBLISHED
CHARLENE CARROCCIA GUADAGNO                 *
as Administratrix of the Estate of Salvatore*
J. Carroccia,                               *
                                            *
                      Petitioner,           *             Special Master Gowen
                                            *
v.                                          *             Joint Stipulation on Damages;
                                            *             Influenza (“Flu”) Vaccine; Acute
SECRETARY OF HEALTH                         *             Disseminated Encephalomyelitis
AND HUMAN SERVICES,                         *             (“ADEM”)
                                            *
                      Respondent.           *
                                            *
* * * * * * * * * * * * *
Michael J. Williams, Cellino and Barnes, P.C., Buffalo, NY, for petitioner.
Claudia B. Gangi, United States Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

        On September 20, 2013, Salvatore Carroccia filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to 34 (2012). Upon his death,
Charlene Carroccia Guadagno (“petitioner”), as Administratrix of his estate, was substituted as
petitioner. Petitioner alleges that as a result of receiving an influenza (“flu”) vaccine on
September 20, 2010, Mr. Carroccia developed acute disseminated encephalomyelitis (“ADEM”),
and that Mr. Carroccia’s death was the sequela of his alleged vaccine-related injury. Petition at
Preamble.

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                     1
          Case 1:13-vv-00705-UNJ Document 54 Filed 01/06/17 Page 2 of 8




        On December 8, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu vaccine caused Mr.
Carroccia’s alleged ADEM, any other injury, or his death. Stipulation at ¶ 6. Nevertheless, the
parties agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

        The parties stipulate that petitioner shall receive the following in compensation:

    a. A lump sum of $450,000.00 in the form of a check payable to petitioner as
       Administratrix of the estate of Salvatore J. Carroccia. This amount represents
       compensation for all remaining damages that would be available under 42 U.S.C. §
       300aa-15(a).

        Id. at ¶ 8.

        The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                          s/Thomas L. Gowen
                                                          Thomas L. Gowen
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
Case 1:13-vv-00705-UNJ Document 54 Filed 01/06/17 Page 3 of 8
Case 1:13-vv-00705-UNJ Document 54 Filed 01/06/17 Page 4 of 8
Case 1:13-vv-00705-UNJ Document 54 Filed 01/06/17 Page 5 of 8
Case 1:13-vv-00705-UNJ Document 54 Filed 01/06/17 Page 6 of 8
Case 1:13-vv-00705-UNJ Document 54 Filed 01/06/17 Page 7 of 8
Case 1:13-vv-00705-UNJ Document 54 Filed 01/06/17 Page 8 of 8
